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Exhibit 57
ALL ACTIONS

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION

In re: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION

Case No. 07-5944 SC

This Document Relates to: MDL No. 1917

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Videotaped:- deposition of DANIEL RIEBOW, taken
on behalf of the Defendants, at 820 Mililani Street,
Suite 701, Honolulu, Hawaii, beginning at 10:06 a.m.
and ending at 12:59 p.m., on Tuesday, April 17, 2012,
before JOANNA B. BROWN,* Certified Shorthand Reporter

No. 8570.

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Daniel Riebow [Court Reporters”

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A I recall there were other televisions there.
I assume I probably looked at them. I have no direct
recollection.

Q Did you go to any other stores besides the
Sears when you were shopping?

A Not that I recall.

Q Do you recall doing any kind of research
before making the purchase?

A Not that I recall.

OQ You didn't look around to see if there was a
better price somewhere, for instance?

A Again, going back to I was in stupid mode at
the time, not that I recall.

Q Why did you buy the television from Sears as
opposed to any other store?

A At the time, Sears was the closest location.
that carried TVs combined with the fact that Sears has
good return policies.

Q Any other reason?

A Not that I recall.

QO Could you have bought the TV at any other
store?
A I believe I could have.
Q Where?
A I'm sorry. I'm not recalling the names of
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Daniel Riebow Court Reporters |

